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                       UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT BECKLEY



MOUNTAIN VALLEY PIPELINE, LLC,

             Plaintiff,

v.                                                CIVIL ACTION NO 5:23-cv-00625


MELINDA ANN TUHUS, and
ROSE ZHENG ABRAMOFF


             Defendants.


                                            ORDER

             Pending is the parties’ Joint Motion for Modification of Scheduling Order [Doc. 90].

The Court GRANTS the Joint Motion. The schedule is AMENDED as follows:

                               Deadline                          Date
                Discovery to close                      12/16/2024
                Dispositive motions deadline            01/06/2025
                Response to dispositive motion          01/20/2025
                Reply to response to dispositive motion 01/27/2025
                Settlement meeting                      03/07/2025
                Motion in limine deadline               03/14/2025
                Responses for motions in limine         03/21/2025
                Proposed pretrial order to defendant    03/11/2025
                Integrated pretrial order               03/18/2025
                Pretrial conference                     03/28/2025 11:30 AM
                Proposed jury charge                    04/18/2025
                Final settlement conference             05/02/2025 12:00 PM
                Civil Jury Trial                        05/06/2025 9:00 AM
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               Apart from the modified dates and directives contained herein, the requirements and

directives of the previously operative scheduling order(s) remain in full force and effect.

               The Clerk is directed to transmit copies of this order to all counsel of record and any

unrepresented parties.

                                                      ENTERED:       November 14, 2024




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